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UNITED sTATEs DIsTRICT CoURT ll "'E° BY -@@'~ °-°-
WESTERN DIsTRIC'r oF TENNESSEE
Western Division 05 JUL |2 PH '2: 36
UNITED sTATEs oF AMERICA G.E°Jt U€ QYTW(H'%UHT
W/t) 05 was
-vs- Case No. 05-20233-Ml
RoosEVELT HENDERSON

 

ORDER OF DETENT|ON PEND|NG TRlAL
F|ND|NGS
ln accordance with the Bail Reform Aet, 18 U.S.C. § 3142(f), a detention hearing has been
held. The following facts and circumstances require the defendant to be detained pending trial.

No condition or combination of conditions of release will reasonably assure the
appearance of the defendant as required or the safety of any other person and the
community §

Tln's conclusion is based on the findings and analysis of the matters enumerated in 18 U.S.C.
§ 3142(g) as stated on the record in open court at the detention hearing.

DlRECTlONS REGARD|NG DETENT|ON

ROOSEVELT HENDERSON is committed to the custody of the Attorney General or his designated
representative for confinement in a corrections facility separate, to the extent practicable, from persons awaiting or
serving sentences or being held in custodypending appeal ROOSEVELT HENDERS ON shall be afforded a reasonable
opportunity for private consultation with defense counsel. On order of a Court of the United States or on request of an
attorney for the govemrnent, the person in charge of the corrections facility shall deliver the Defendant to the United
States marshal for the purpose of an appearance in connection with a Court proceeding

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J N PHIPPS McCALLA
ED STATES DISTRICT JUDGE

Th'cs document entered on the docket sheet in compliance
thn Rule 55 and/or 32{b) FHCrP on ~' ’ /é)

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UNITED STATES DISTRICT COURT - WESTERN DISTRICT OF TENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number l6 in
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David Pritchard

U.S. ATTORNEY'S OFFICE
167 N. l\/lain St.

Ste. 800

l\/lemphis7 TN 38103

T. Clifton Harviel

LAW OFFICE OF CLIFTON HARVIEL
50 N. Front St.

Ste. 850

l\/lemphis7 TN 38103

Honorable J on l\/lcCalla
US DISTRICT COURT

